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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

AMBER SLAUGHTER, ET AL.                )
          Plaintiffs,                  )
                                       )       No. 1:16-cv-346
-v-                                    )
                                       )       HONORABLE PAUL L. MALONEY
JOHN MCCOY, ET AL,                     )
          Defendants.                  )
                                       )

                                   JUDGMENT

      In accordance with the Order entered on this date (ECF No. 142), and pursuant to

Federal Rule of Civil Procedure 58, JUDGMENT hereby enters.

      IT IS SO ORDERED.

Date: February 22, 2018                              /s/ Paul L. Maloney
                                                     Paul L. Maloney
                                                     United States District Judge




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